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AO 450 (GAS Rev 09/20) Judgment in a Civil Case

United States District Court
Southern District of Georgia

 

ASHTON BRINKLEY and JARED SPELL,

Plaintiffs,
JUDGMENT IN A CIVIL CASE

Vv. CASE NUMBER: CV218-089

MICHAEL GLENN WATERS, et. al.,

Defendants.

C Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

V1 Decision by Court. This action came before the Court. The issues have been considered and a decision has been
rendered.

IT IS ORDERED AND ADJUDGED

that, in accordance with the March 31, 2021 Order granting summary judgment to Defendants
Copeland and Starr and the Court's May 10, 2021 Order granting the consent motion for entry of
judgment, judgment is hereby entered in favor of Defendants Copeland and Starr pursuant to Federal
Rule of Civil Procedure 54(b). This action remains pending as to Plaintiffs' surviving claims against

other Defendants.

Approved by:

 

HON} LISAAGODBEY WOOD, JUDGE
UNITEDATATES DISTRICT COURT
SOU RN DISTRICT OF GEORGIA

Nig ] 4, eZ) John E. Triplett, Acting Clerk
/ f

Clerk

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(By) Deputy Clerk

 

 

Date

GAS Rev 10/2020
